                                                                         CLERK'
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                                                                                AT ROANOKE,VA
                                                                                     FILED
                       IN TH E U N ITE D STATE S D ISTRICT CO U RT               JAN 11 2019
                      FO R T H E W ESTE RN D ISTRICT O F W R GIN IA
                                   ROAN O U D IW SIO N                      JULI.C. DLEY,
                                                                                      - CLERK
                                                                           BY:           >
                                                                                  DEPUR CL-
   CART,A A.CLE H M

         Plaintiff,                               CivilAction N o.7:16-cv-00012

  V.

   BAE SYSTEM S O RD N AN CE                      By:H on.M ichaelY.U tbahsld
   SYSTE M S,IN C .,MISLZ  .                      ChiefU nited StatesDistrivtJudge
         D efendants.

                               M E M O RAN D U M O PIN IO N

                                             1.

         Tllismatterisbeforethecol't'fonPlniniffCarlaA.Clehm's(<fclehm')Modonto
   CotrecttheRecotdpursuanttoRule10(e)(2)7)oftheFederalRulesofAppellate
  Procedure.ECF No.241.Thecitcumstancesgivingtiseto thismodon areasfollows:On

  June29,2017,Clehm flled aM emorandum in Opposidon to DefendantBAE SystemsInc.'s
   (TKBAEAA)M odonfotSummaryludgment,ECFNo.160,attgching65exhibits.Clehm flled
   asECF N o.160-57,discovery docum entsproduced byBAE with Batesstam psBAE 1781-

   1783.The docllm entsattached apparently were notthe correctdocum ents.D uting

   discovery,BAE inadvertently produced to Clehm discovery docum entswith Batesstam ps

   thatw ere tepedtive ofBatesstam psthathgd previously bçen used.BAE corrected this

   production errorwithin threedays,reproducing these docum entswith corrected Bates
                       .




   stampsand an explanatorycoverlettetonM ay25,2017.Nevertheless,onlune29,2017,
   Clehm ûled asECF N o.160-57 theTçftrstsey''ofdocum entsproducçd with Batesstam ps




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   BAE 1781-1783.Clehm çlnim sthatsheintended to attach the <fsecond set''ofdocllm ents
              .




   pp duced with BatesstampsBAE 1781-1783.

                                              II.

         On December4,2017,thecourtgrantedBAE'SMotion forSummaryludgment.
   ECFNo.1f8.FollowingtheentrypfûnaljudgmentonAugust28,2018,Clehm flleda
   N odceofAppealwith theU nited StatesCpurtofAppealsfortheFourth Citcuit,appealing
                                 .




   thegzantofsummaryjudgmentdismissingBAE from thecase.OnDecember14,2018,
   Clehm flled them otion presently beforethecourt.In thism odon,Clehm seeksto replace a

   pal'toftherecotd,ECFNo.160-57,underappealwithExllibit3 (includedinhermodon)to
   correcttheattachm enterrordescribed it
                                        .
                                        lp-m.Onlanuary7,2019,BAE flledateqponseto
                                        .




   Clehm'smoéon,ECF No.242,statingthatitdoesnotobjecttothemodon toalterthe
   record,butbelievesitwould beinappropriate to rem ove doplm entsfrom therecord that

   werepartoftherecordwhen thecouttiçndereditssummaryjudgmentruling.BAE also
   m akesacm cialobserp don:regardlessofwhetherClehm intended to includethe docum ents

   contained in Exhibit3,i.e.,the fdsecond set''ofdocum entsproduced w1:.1,
                                                                          1Batesstam ps

   BAE 1781-1783,these docllm entswereneitherreceived norreviewed by the courtwhen it

   granted BAE'Smotion forsummaryjudgment.Onlanuary7,2019,Clelnm flled areply,ECF
   N o.243,to BAE'Sm sponseindicadng thatitdid notoppose ECF N o.167-57 rem aining

   pattthe record.Fo! thereasonssetforth herein,thecouytwitlDE N Y Clehm 'sm oéon.

                                             111.

         Rule10(e)oftheFederalRulesofAppellateProceduzeallowsadistrictcourtto
   supplem enttherecord thatwaspreviously before it.UndertheRtlle,a disttictcotutm ay



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  modifyorsupplementthezecord on appeal:(1)ffifanydifferencearisesastowhatacttzally
  occurred beforeiti''or(2)Tïifanythingmaterialto eitherpartyisonaitted from therecord by
  vrrororaccident.''Id.;accord I-linalerv.Com rehensiveCare Co ..,790 F.supp.114,115

   (E.D.Va.1992).Therecord on appealconsistsofTdtheoriginalpapersand exhibitsflledin
  thedistticycoutt,the ttanscriptofptoceedings,ifany,and a cerdfied copy ofthe docket

  enttiespreparedbytheclerkofthedisttictcotttt.''Fed.R.App.P.10(a).
         Itiswell-settledthatTfthepuposeofRule10(e)isnottoallow adistrictcourttoadd
  to the tecord m attersthatdid notocctu therein the course oftheproceeclingsleading to the

  judgmentunderreviem ''JA9accordRutecldv.CSX Hotels,Inc.,2007U.S.Dist.LEM S
  44954,at*14(S.D.W .Va.June20,2007).Indeed,theclearweightof,authorityindicatesthat
  adistriqtcourtshouldproperlyrefusetosupplementiherecordonappealwithcliscovery
  docllm entsthatwere dfnotftled ...orbroughtto the attention ofthedistdctcourt,asit

  çonsideredthevriouspapçrsinevaluatingthemodonforsummaryjudgment''Roebou h
  v.W ethLabs.lnc.,916F.2d 970,973-74,n.8 (4t.h Cit.1990)9W heelerv.Anchor
  Continental,Inc.,1979U.S.Dist.LEXIS8438,1979W L 520 .5.C.1979)Clkule10(e)
  providesno basisfot augm enéng therecord to include evidencewllich wasneverbefotethe

  disttictcou.
             rt.''l;Thomaqv.Lod eNo.2461ofDist.Lod e74oftheInt'lAss'nof
  MachinistsAndAeto.W orkers,348F.Supp.zd708,710(E.D.Va.2004)rfrihepumoseof
  Rule10(e)isnoyto allow aclistrictcollt'ttoadd to therecordon appealmattersthatclidnot
  occuztherein thecourseoftheproceedingsleadingto thejudgmentunderreviem '''
   (citgdonornittedl);Com bintofRobinsMaritimeInc.,162F.R.D.502,504(E.D.Va.1995)
   (callingtheaboveruleKfwell-settled');16A Fed.Prac.& Proc.llAt1
                                                                's.j3956.4 (4th ed.
                                                                                  )

                                             3
Case 7:16-cv-00012-MFU-RSB Document 244 Filed 01/11/19 Page 3 of 7 Pageid#: 3984
   rfgq rclinarilyRule10(e)shotzldnotbeusedtoinsertintherecorditemsthataregot
   properly a partofit- such asm aterialsthatwere notptesented to the disttictcourtdlxting

   thelitigadon that1ed to thechallenged district-collt'truling.'').
          In Am tv.Vir 'nia State Urziversi ,thecourtdid note thatseveralcourtsoutside of

   theFouzth Citcuithaveheld thatthezeazeceztain sim adonsinwhich adijtrictcouttm ay
   supplem enttherecotd with m atetialthatw asnotprevioùsly beforeit.N o.3407cv628,2009

  W L 1208203,at*3(E.D.Va.May4,2009).TheAmrcourtnoted,however,thatthisissue
  wasaddressed in theEastern D isttictofVirginiain acasew here the pbindffsrelied on f<a

  vein ofprecedent''outside ofthe Folzrth Citcuitwllich pernaitted ffappellatecourtsto

   con7iderm attersnotincludqd in the appenatetecord fin theintem stsofl
                                                                       'ustice.'
                                                                               .''Id.

   (quoéngFreeclman Le litoll& Simmonsv.Mendelson,197F.R.D.276,279(E.D.Va.
   2000).In Mendelson,thecourtnoted thefffou.
                                            tgeneralcitcumstancesinwllich federal
   appellatecouttsgcould
                       .1considermattetsbeyondtherecord on appealasamatterofinherent
   disctedon.''Id.Thefourcirclzmstanceswere:(1)Tfan appçllatecourtruling suasponteon
   quesdonoflaw neitherarguedbeforkthetrialcourtnotexpresslyraisedonappeali''(2)ffan
   appellateçolzrtreviewingprobablecauseand otherpzoteduralm atters... gin)considedng
   evidence presented in pretrialproceeclingsbutnotproperlybroughtbeforethetrialcouttor
                                                                       .




  indudedintheappellaterecordi''(3)ffanappeltecourt...exercisingitsinherentdisçredon
   in theintetestofjusdceto considerevidencenotconsidezed bythetrialcourq''and (4)fran
   appellatecotutconsidering sug spontem ixed issuesoflaw and facynotspeciicallyraised in

   the distsictcotzrt.''1d.at279-80.




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          TheM endelson cotutultim ately held thattheplaindffshad ffcited no instancesin

  whichadistrictcourtacHngunderRule10(e)supplementedamcordalreadyonappealv'ith
   documentaryevidencenotextantatthetimeofthecourt'srulinp''1i at280.Thus,the
   coul'tdenied them otion to supplem epttherecord,obserdng thattheplaindffsTfm ay benefh

  on appealfrom theinhezentdisczedon ofthe Folzt'th Citcuity''butthatclistzictcouttsm ust

   decline<êtoexceedthescopeof(Rtzleq10(e).''Id.
          To date,theFour
                        'th Circuiihasyetto follow itssistetcircuitsby exercising its

   fv herenydisczedon''in thism anner,and num erousdecisionsofcourtsin thiscircuitand

  beyond m ilitateagainstpet-m iténg Clehm to ffcorrect''therecord.Seee.g..Thom as,348

  F.supp.zdat711(E.D.Va.2004)rfgljtisnotappropdateforthisCoutttosupplementthe
  recozd hereby adding thepleapgreement.
                      ,                7);Huelsman v.CivicCtr.Co .,873F.2d 1171,
   1175n.3(8th Cir.1989)rfrflheappellaterecordconsistsonlyofthosefactsandmaterial
  presented forthedisttictcourt'sconsideradon.7);Henn v.Nat'lGeo a hicSoc.,819 F.2d
   824,831(7th Cit.1987)((<Thepardesmayrelyon appealonlyon materials6ltnishedto the
   clistdctJ
           'udge.'').In short,therecord on appealcannotcontain anydocumentsorevidence
  thatwetenotfiledinthetrialcouttpriottojudgment.Inothetwords,<fapartymaynot
   fraiseaddidonalissuesnorbelatedly supplem enttherecord'on appealwith docum entsthat

   allegedlyincludefproop ofan issuein theacdon,ifthose docum entswere notpresented to

   tlae trialcouzt.''N e   ortN ewsH oldin sCo .v.VirtualCi Vision Inc.,N o.4:08CV 19,

  2010WL 11566374,at*2(E.D.Va.May11,2010)(ciéngSamuelsv.W ilder,871F.2d1346,
   1354 Cth Cit.1989)).Thecourtfmdstheprevailingprecedentllighlypersuasive.




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         Toreitemte,adisttictcotutmaymoclifyorsupplementtherecord:(1)ffifany
   differencearisesastowhatacmallyoccurredbeforeiti'?o.
                                                      r(2)ffifanythingmaterialtoeither
   partyisomitted ftom therecozdbyerrororaçcident.''Fed.R.App.P.10(e).Neitherparty
   appeatstoclisputethecontentsoftherecordbeforethiscouttonsummaryjudgment.
   H ence,the only available groundsfotsupplem entaéon would beonaission oftheptoffered

   documentsinExhibit3 dueto fferrororaccident.''SeeidaTheterm fferrorozaccident''is
   ffbroadly interpreted to petvnittherecotd to be supplem ented by any m atterwhich is

   properlyapartthereof.''UnitedStatesv.Barrow,118F.3d482,488(6thCir.Mich.1997).
   Im portantly,supplem entadon ispetvnitted only ifthe Tferzororaccident''resulted in the

   ornission in theappellaterecord ofm aterialthatw aspattofthetdalrecord.H ete,Clehm

   seeksto supplem enttherecord on appeal* t.
                                            1'
                                             1docum entsthey concedewerenever

   presented to the ttialcoutt.In otherwords,Clehm 'sfailureto ptofferthe f<second set''of

   doclxm entsin question doesnotconsdm te an acdonable dfetrororaccident''ofthe sort

   contemplated underRule10(e).See,e.g.,Fassettv.DeltaKa aE silon,807 F.2d 1150,
   1165(3zdC1.1986)(holdingthatthecourtisnotauthotizedunderRule10(e)Raugmentthe
   record on appealwith deposidon ttanscdptsthatw eze noton the tecord befcyeitattheHm e

  itsfnaldecisionwasrendered.');accordJonesv.JacksonNat'lLifeIns.Co.,819F.supp.
   1385,1387 (W .D.Miçh.1993).Thetefore,itwouldbeimproperto Tfcorrecty''i.e.,
   supplem entthe record on appealw1t.
                                     11doclAm entsthatwere notbefore thiscourt(?n

   Summatyjudgement.
                                               IV .




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        Fortheforegoingreasons,Clehm'sVodonto CorrecttheReçord,ECFNo.241,is
  D EN IED .The Clerk isdirected to send a copy ofthisM em orandllm Opinion to all

   counselofrecord.

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